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                            UNITED STATES DISTRICT COURT
    15
                         SOUTHERN DISTRICT OF CALIFORNIA
    16
       SONNY LOW, J.R. EVERETT and            ) No. 3:10-cv-0940-GPC(WVG)
    17 JOHN BROWN, on Behalf of               )
       Themselves and All Others Similarly    ) CLASS ACTION
    18 Situated,                              )
                                              ) JOINT MOTION TO PERMIT
    19                          Plaintiffs,   ) CONSUMMATION OF THE CLASS
                                              ) ACTION SETTLEMENT
    20        vs.                             ) AGREEMENT
                                              )
    21 TRUMP UNIVERSITY, LLC, a New )
       York Limited Liability Company and )
    22 DONALD J. TRUMP,                       )
                                              )
    23                          Defendants. )
                                              )
    24 [Caption continued on following page.]
    25
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     1 ART COHEN, Individually and on             ) No. 3:13-cv-02519-GPC-WVG
       Behalf of All Others Similarly Situated,   )
     2                                            ) CLASS ACTION
                                                  )
     3                          Plaintiff,        )
                                                  )
     4           vs.                              )
                                                  )
     5 DONALD J. TRUMP,                           )
                                                  )
     6                           Defendant.       )
                                                  )
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            1          Pursuant to Local Rule 7.2, the Parties and Objector Sherri Simpson jointly
            2 move the Court for an order permitting consummation of the Settlement without
            3 further delay.1 In support of their motion, the Parties and Simpson state as follows:
            4          WHEREAS, on December 19, 2016, the Parties jointly moved the Court to
            5 preliminarily approve their Agreement to resolve these two related class actions (Low
            6 583 & Cohen 281 at 12), which joint motion this Court granted on December 20, 2016
            7 (Low 584 & Cohen 282 at 9);
            8          WHEREAS, on March 6, 2017, Simpson objected to the Settlement (Low 593);
            9          WHEREAS, on March 31, 2017, the Court issued a Final Approval Order
       10 rejecting Simpson’s objection (Low 618 & Cohen 305 at 21, 30) and entered a Final
       11 Judgment providing “this Court expressly retains exclusive and ongoing jurisdiction
       12 as to all matters relating to the administration, consummation, enforcement, and
       13 interpretation of the Agreement.” (Low 619 & Cohen 306 at 5);
       14              WHEREAS, on May 1, 2017, Simpson filed a notice of appeal (Low 621);3
       15              WHEREAS, on February 6, 2018, the Ninth Circuit affirmed this Court’s Final
       16 Approval Order and rejected Simpson’s objection thereto (Low v. Trump Univ., LLC,
       17 881 F.3d 1111 (9th Cir. 2018));
       18              WHEREAS, on March 1, 2018, the Ninth Circuit issued a mandate providing
       19 that its February 6, 2018 judgment took effect that day (Low 636 & Cohen 339);
       20              WHEREAS, the Agreement provides the Settlement’s Effective Date occurs
       21 three business days after all necessary events and conditions are met, including this
       22
                1
                    Capitalized terms shall have the same meaning as set forth in the Agreement.
       23
                2
              Low and Cohen refer to the cases’ respective docket entries, and page references
       24 refer to the page numbers generated by the electronic case filing (CM/ECF) system.
       25 3 Simpson was the only Class Member to appeal the Final Approval Order. On July
          14, 2017, non-class member Leeland White appealed a June 27, 2017 order denying
       26 reconsideration of his motion to intervene, set aside the judgment, and vacate the
          settlement agreement (Cohen 332), which appeal the Ninth Circuit dismissed as
       27 frivolous. Cohen 337. The Parties agree White lacks standing to disturb the Court’s
          approval of the Settlement and thus poses no impediment to its consummation.
       28

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            1 Court’s Final Approval Order and Final Judgment becoming “Final” (Low 583-1 &
            2 Cohen 281-1 at 8, 28), which in turn occurs “if an appeal is taken, immediately after
            3 the final determination of that . . . appeal so that it is no longer subject to any further
            4 judicial review or appeal whatsoever, whether by reason of affirmance by a court of
            5 last resort, lapse of time, voluntary dismissal of the appeal or otherwise in such a
            6 manner as to permit the consummation of the Settlement,” with “appeal” defined to
            7 “include any petition for a writ of certiorari or other writ that may be filed in
            8 connection with approval or disapproval of this Settlement” (id. at 8-9); and
            9         WHEREAS, after consultation with her counsel, Simpson has knowingly and
       10 voluntarily waived any right to seek further judicial review or appeal of this Court’s
       11 Final Approval Order or Final Judgment (or the Ninth Circuit’s judgment affirming
       12 same), including the filing of a petition for a writ of certiorari or any other writ that
       13 could be filed in connection with the Settlement.
       14             NOW, THEREFORE, subject to the Court’s approval, the Parties and Simpson
       15 hereby stipulate and agree that the Court’s Final Approval Order and Final Judgment
       16 are no longer subject to further judicial review or appeal whatsoever and, therefore,
       17 the Class Action Settlement can and should be consummated without further delay.
       18 DATED: April 9, 2018                            ROBBINS GELLER RUDMAN
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                                                         Attorneys for Objector Sherri B. Simpson
       22
                                            ECF CERTIFICATION
       23
       24            The filing attorney attests that she has obtained concurrence regarding the filing

       25 of this document from the signatories to this document.
       26 Dated: April 9, 2018                                By: s/ Rachel L. Jensen
                                                                      RACHEL L. JENSEN
       27
       28

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            1                            CERTIFICATE OF SERVICE
            2        I hereby certify that on April 9, 2018, I authorized the electronic filing of the
            3 foregoing with the Clerk of the Court using the CM/ECF system which will send
            4 notification of such filing to the e-mail addresses denoted on the attached Electronic
            5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
            6 document or paper via the United States Postal Service to the non-CM/ECF
            7 participants indicated on the attached Manual Notice List.
            8        I certify under penalty of perjury under the laws of the United States of America
            9 that the foregoing is true and correct. Executed on April 9, 2018.
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Mailing Information for a Case 3:10-cv-00940-GPC-WVG Low v. Trump University, LLC et al
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Mailing Information for a Case 3:13-cv-02519-GPC-WVG Cohen v. Trump
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